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 4
 5                               UNITED STATES DISTRICT COURT
 6                                       DISTRICT OF NEVADA
 7
      HENRY BRANDON,
 8                                                            Case No.: 2:20-cv-00464-RFB-DJA
              Plaintiff,
 9                                                                           Order
      v.
10
      LVMPD, et al.,
11
              Defendants.
12
            Pending before the Court is pro se Plaintiff Henry Brandon’s Motion to File Electronically
13
     (ECF No. 7), filed on April 29, 2020. A pro se litigant may request authorization to register as an
14
     electronic filer in a specific case. Local Rule IC 2-2(b). The Court will grant the request contingent
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     on the following: Plaintiff must complete the CM/ECF tutorial and Plaintiff must review the
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     Electronic Case Filing Procedures and the Civil Menu E-Filing Categories and Events. 1 Further,
17
     Plaintiff must establish a CM/ECF account.
18
            IT IS HEREBY ORDERED that Plaintiff Henry Brandon’s Motion to File Electronically
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     (ECF No. 7) is granted.
20
            IT IS FURTHER ORDERED that Plaintiff must comply with the following procedures to
21
     activate his CM/ECF account:
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                (1) By May 29, 2020, Plaintiff must file a written certification that he has completed
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                the CM/ECF tutorial and is familiar with Electronic Filing Procedures, Best Practices,
24
                and the Civil & Criminal Events Menu that are available on the court's website,
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                www.nvd.uscourts.gov. Plaintiff is advised that he is not authorized to file
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          1
            The tutorial, Electronic Case Filing Procedures, and Civil Menu E-Filing Categories and
28 Events can all be found at https://www.nvd.uscourts.gov/e-filing-permission/.

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 1      electronically until this certification is filed with the court within the time frame
 2      specified.
 3      (2) After timely filing the certification, Plaintiff must contact the CM/ECF Help Desk
 4      at (702) 464-5555 to set up a CM/ECF account.
 5
 6   Dated: May 6, 2020
 7                                                         ______________________________
                                                           Daniel J. Albregts
 8                                                         United States Magistrate Judge
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